            Case:
ILND 450 (Rev.        1:17-cv-03930
               10/13) Judgment                Document
                               in a Civil Action         #: 314 Filed: 08/24/17 Page 1 of 1 PageID #:42891

                                    IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE
                                       NORTHERN DISTRICT OF ILLINOIS

Rocio Herrera-Nevarez,

Plaintiff(s),
                                                                  Case No. 17 C 3930
v.                                                                Judge Matthew F. Kennelly

Ethicon, Inc., et al.,

Defendant(s).
                                             JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                 in favor of plaintiff(s)
                 and against defendant(s)
                 in the amount of $       ,

                          which        includes       pre–judgment interest.
                                       does not include pre–judgment interest.

        Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

        Plaintiff(s) shall recover costs from defendant(s).


                 in favor of defendant(s)
                 and against plaintiff(s)
.
        Defendant(s) shall recover costs from plaintiff(s).


               other: Judgment in favor of defendants Ethicon, Inc. and Johnson & Johnson on the first claim –
negligence and on the second claim-strict liability; and in favor of plaintiff Rocio Herrera-Nevarez on the third
claim – negligent misrepresentation. Plaintiff Rocio Herrera-Nevarez is assessed compensatory damages for
the reasonable expense of necessary medical care, treatment, and services rendered in the amount of
$55,000.00.

This action was (check one):

     tried by a jury with Judge Matthew F. Kennelly presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
     decided by Judge       on a motion


Date: 8/24/2017                                               Thomas G. Bruton, Clerk of Court

                                                               Pamela J. Geringer, Deputy Clerk
